              Case 2:16-cr-00189-KJM Document 160 Filed 05/29/19 Page 1 of 2


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 5
     Counsel for Defendant LEONARD YANG
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 8
                            IN THE UNITED STATES DISTRICT COURT
 9
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11

12   UNITED STATES OF AMERICA,                           Case No.: 2:16-CR-00189 KJM

13                  Plaintiff,                           STIPULATION AND ORDER FOR
                                                         DISMISSAL OF ALL CHARGES SET
14   vs,                                                 FORTH IN SUPERSEDING
15                                                       INDICTMENT
     LEONARD YANG,
16
                    Defendant.
17

18
                                             BACKGROUND
19          The above-numbered Superseding Indictment, filed on August 10, 2017, charges Leonard
20   Yang with nine separate felony counts relating to the manufacture of marijuana and money
21   laundering. On January 19, 2019, Mr. Yang entered a change of plea to “guilty” as to Count One
22   of the Indictment, a violation of 21 U.S.C. §§ 846, 841 (a)(1), Conspiracy to Manufacture

23
     Marijuana. On March 28, 2019, by stipulation and order, sentencing was rescheduled for June
     17, 2019 before Hon. Kimberly J. Mueller, U.S. District Court Judge, presiding. On April 15,
24
     2019, prior to the sentencing date, Mr. Yang passed away - cause of death listed on the Death
25
     Certificate as “Acute Cerebellar Intracranial Hemorrhage.” A copy of the Certificate of Death,
26
     dated April 19, 2019, from the Ohio Department of Health - Vital Statistics, is attached hereto as
27
     Exhibit “A,” and by reference made a part hereof.
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              Case 2:16-cr-00189-KJM Document 160 Filed 05/29/19 Page 2 of 2


 1                                           STIPULATION
 2

 3          IT IS HEREBY STIPULATED, by and between the parties hereto, through the

 4
     undersigned representative counsel, that, by reason of the death of Mr. Leonard Yang, as set
     forth herein-above, without further appearance of counsel, the Indictment in Case No. 2:16-CR-
 5
     0189 KJM, and all charges contained therein, as against Mr. Yang only, be dismissed.
 6

 7
            Dated: May 20, 2019
 8
                                                  /S/ Robert M. Holley
 9                                                ________________________________
10
                                                  Mr. Robert M. Holley, Esq.
                                                  Attorney of Record for Mr. Leonard Yang
11

12                                                /S/ Roger Yang, Esq.
13
                                                  _________________________________
                                                  Mr. Roger Yang, Esq.
14                                                Assistant United States Attorney
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16

17                                               ORDER
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19          The Court, having read and considered the stipulation of the parties, and the factual
20   dissertation set forth herein (including the Certificate of Death of Mr. Leonard Yang), good
21   cause appearing, the Indictment, including all charges contained therein, as against Mr. Yang
22   only, is hereby dismissed.
23
             IT IS SO ORDERED.
24
     DATED: May 29, 2019.
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26                                                   UNITED STATES DISTRICT JUDGE
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